
GILBERTSON, Chief Justice.
[¶ 1.] TracFone Wireless, Inc. (TracFone) claims it miscalculated and then overpaid its telecommunications gross receipts tax during the period of April 2004 to March 2007. In April 2007, TracFone sought a refund through the South Dakota Department of Revenue and Regulation (the Department) using a refund claim form and instructions provided by the Department. After TracFone’s refund claim was denied by the Department, it sought an administrative appeal hearing. The Department opposed the hearing and argued the payment-under-protest system in SDCL 10-27-2 was the exclusive method of obtaining a tax refund, and that the Department was without jurisdiction to hear TracFone’s administrative appeal of the denial of TracFone’s refund request filed under SDCL ch. 10-59. The Office of the Hearing Examiner (OHE) ultimately accepted the Department’s argument and recommended the Secretary of the Department (Secretary) dismiss the appeal. The Secretary adopted the OHE’s proposed decision in full and dismissed TracFone’s appeal for lack of subject matter jurisdiction. TracFone appealed to the circuit court. After a hearing, the circuit court determined that the OHE and the Department were without jurisdiction, and affirmed the Secretary’s decision to dismiss the appeal for lack of subject matter jurisdiction. TracFone appeals. We reverse and remand.
FACTS
[¶ 2.] TracFone sells prepaid wireless telephone services to retailers and direct consumers throughout the United States. Its sales in South Dakota are subject to *132the telecommunications gross receipts tax as provided in SDCL ch. 10-33A, which was enacted in 2003. During the period of April 2004 through March 2007, the majority of TracFone’s sales in South Dakota were to retailers who in turn sold services to consumers. TracFone calculated its monthly obligation for telecommunications gross receipts tax for the period in question assuming that the four percent tax under SDCL 10-33A-4 applied equally to its direct to consumer sales and its sales to retailers for resale to consumers.1 TracFone timely submitted to the Department the monthly amounts it calculated were due for the months of April 2004 through March 2007.
[¶ 3.] In April 2007, TracFone determined it had overpaid its telecommunications gross receipts tax for April 2004 through March 2007. It theorized that sales to retailers for resale to consumers did not meet the definition of “at retail” in SDCL 10-33A-3.2 TracFone claimed, based on its interpretation of the language in SDCL 10-33A-3, it was only required to pay the telecommunications gross receipts tax on direct sales to consumers.
[¶ 4.] TracFone’s outside auditor subsequently contacted the Department to request the proper forms for filing a refund request for overpaid taxes. Using the “Self Audit Worksheets” provided by the Department and following its instructions, TracFone calculated its refund for the months of April 2004 through March 2007. It submitted its refund request on June 15, 2007.
[¶ 5.] In a letter dated July 5, 2007, TracFone’s refund request was denied. The Department’s denial letter stated that “[i]f you wish to appeal a denial of a request for a refund, you may request a hearing under SDCL 10-59-9 as required by SDCL 10-59-18 and/or SDCL 10-59-26.” The letter also noted that the applicable statute of limitations for a refund claim for overpaid taxes was three years per the provisions of SDCL 10-59-19.3
[¶ 6.] On August 3, 2007, TracFone filed an administrative appeal of the Department’s denial of its refund claim. *133The Department filed a motion to dismiss the appeal contending that the provision of SDCL 10-59-9 were inapplicable to a telecommunications gross receipts tax refund request. The Department argued in its motion that the only appeal process available to obtain a refund of telecommunications gross receipts taxes was the payment-under-protest method provided under SDCL 10-27-2.4 The Department further argued TracFone was required to pay its tax liability under protest and file suit in circuit court within thirty days of remitting the protested payment. The Department argued that the OHE was, therefore, without jurisdiction to hear the appeal as originally filed by TracFone for TracFone’s failure to pay under protest per the provisions of SDCL 10-27-2.
[¶ 7.] On March 26, 2008, after a hearing on the matter, the OHE denied the Department’s motion to dismiss. The parties entered a stipulated factual record. They then filed briefs addressing the substantive merits of TracFone’s refund claim.
[¶ 8.] On July 9, 2008, the OHE’s proposed decision was issued. In that decision, the OHE noted it had reconsidered the Department’s jurisdictional claim. The OHE concluded that SDCL ch. 10-59 did not apply to the telecommunication gross receipts tax and that the only manner in which to obtain such a refund was under SDCL 10-27-2 by paying under protest and then filing a civil suit against the Department within thirty days. After concluding that the OHE was without jurisdiction to hear TracFone’s appeal, it recommended dismissal.
[¶ 9.] The OHE’s recommendation was adopted in full by the Secretary. The Secretary’s July 15, 2008 final decision also noted TracFone had the right to appeal to circuit court pursuant to SDCL ch. 1-26. TracFone’s appeal to circuit court was denied in a one page order that affirmed the Secretary’s findings of fact, conclusions of law, and final decision.
[¶ 10.] TracFone appeals raising the following issue:
Whether the OHE and the Secretary had jurisdiction over the administrative appeal of the Department’s denial of TracFone’s telecommunications gross receipts tax refund claim.
STANDARD OF REVIEW
[¶ 11.] This Court reviews the issue of whether an agency has jurisdiction to hear a matter as a question of law under the de novo standard. O’Toole v. Bd. of Trustees of SD Ret. Sys., 2002 SD 77, ¶ 9, 648 N.W.2d 342, 345. Statutory interpretation is also a question of law. Discover Bank v. Stanley, 2008 SD 111, ¶ 15, 757 N.W.2d 756, 761. As an issue of law, a matter of statutory construction is also reviewed under the de novo standard. Id.
ANALYSIS AND AUTHORITIES
[¶ 12.] TracFone argues that the provisions of SDCL 10-33A-12 expressly permit administrative appeals under SDCL ch. 1-26 of a denial of a refund request for an overpayment of telecommunications gross receipts taxes.5 TracFone *134argues that while SDCL ch. 10-33A is not specifically listed in SDCL 10-59-1 as one of the types of tax matters that may be heard as an administrative appeal by the OHE, the language in SDCL 10-33A-12 expressly authorizes such appeals. The Department argues that TracFone’s refund request was limited to the payment-under-protest method contained in SDCL 10-27-2. The Department argues that without reference to SDCL ch. 10-33A in SDCL 10-59-1, an administrative appeal is precluded for any matter under SDCL ch. 10-33A unless the matter meets the definition of a contested case under SDCL 1-26-1(1). We conclude that SDCL 10-33A-12 expressly authorizes administrative appeals 6 under SDCL ch. 1-26 of a denial of a refund request for overpayment of telecommunications gross receipts taxes.
[¶ 13.] SDCL 10-59-1 authorizes the types of tax matters that may be heard by the OHE as an administrative appeal. It provides:
The provisions of this chapter apply to any taxes or fees or persons subject to taxes or fees imposed by, and to any civil or criminal investigation authorized by, chapters 10-39, 10-39A, 10-39B, 10-43, 10-45, 10-45D, 10-46, 10-46A, 10-46B, 10-46C, 10-46E, 10-47B, 10-52, 10-52A, 32-3, 32-3A, 32-5, 32-5B, 32-6B, 32-9, 32-10, and 34A-13 and §§ 22-25-48, 49-31-51, 50^-13 to 50-4-17, inclusive, and the provisions of chapter 10-45B.
SDCL 10-59-1. The telecommunication gross receipts tax, SDCL ch. 10-33A, is not listed among those types of taxes that may be heard as an administrative appeal. However, SDCL 10-33A-12 provides: “Any appeal from a decision of the secretary in a contested case shall be taken in accordance with chapter 1-26.”
[¶ 14.] Although we must determine the meaning of a statute “from the statute as a whole, as well as enactments relating to the same subject,” we also must apply the rule that “a statute relating to a particular subject will prevail over the general terms of another statute.” Martinmaas v. Engelmann, 2000 SD 85, ¶ 49, 612 N.W.2d 600, 611. This is in keeping with our general rule of statutory construction that “interpretation is augmented by the precept that ‘terms of a statute relating to a particular subject will prevail over general terms in another statute.’ ” Faircloth v. Raven Industries, Inc., 2000 SD 158, ¶ 11, 620 N.W.2d 198, 202 (quoting Meyerink v. NW Pub. Serv. Co., 391 N.W.2d 180, 184 (S.D.1986)). SDCL 10-33A-4 and SDCL 10-33A-12 are part of the same chapter and were enacted as part of the same Legislation. See 2003 Sess. Laws ch. *13558, §§ 4, 12. SDCL 10-59-1 is neither. See 2006 Sess. Laws ch. 58, § 13. Furthermore,
The general rule that the express mention of one thing in a statute implies the exclusion of another ‘is merely an auxiliary rule of statutory construction, to be applied with great caution; it is not a rule of substantive law, or a constitutional command. The maxim is not of universal application, or conclusive as to the meaning of a statute; and it does not constitute a formula for construction to be arbitrarily applied.’
Argo Oil Corp. v. Lathrop, 76 S.D. 70, 74, 72 N.W.2d 431, 434 (1955) (quoting 82 CJS, Statutes, § 333 b; Rehurek v. Rapid City, 65 S.D. 542, 275 N.W. 859 (1937)).
[¶ 15.] SDCL 10-59-1 authorizes several types of tax matters that may be heard by the OHE as an administrative appeal, but fails to list SDCL ch. 10-33A. SDCL 10-59-1 uses no language of exclusion or inclusion that serves to. indicate only those taxes specifically listed may be appealed via the administrative appeals process contained in SDCL ch. 10-59. Therefore, SDCL 10-59-1 does not limit the SDCL ch. 1-26 administrative appeals process to just those tax matters specifically listed.
[¶ 16.] The Department next argues that, without specific reference to SDCL ch. 10-33A in SDCL 10-59-1, the only other way the denial of a telecommunications gross receipts tax refund request can qualify for an administrative appeal under SDCL ch. 1-26 is to meet the definition of a “contested case” as provided in SDCL 1-26-1(2):
“Contested case,” a proceeding, including rate-making and licensing, in which the legal rights, duties, or privileges of a party are required by law to be determined by an agency after an opportunity for hearing but the term does not include the proceedings relating to rule making other than rate-making, proceedings related to inmate disciplinary matters as defined in § 1-15-20, or student academic or disciplinary proceedings under the jurisdiction of the Board of Regents or complaints brought by students attending institutions controlled by the Board of Regents about their residency classification under §§ 13-53-23 to 13-53-41, inclusive[.]
The Department further argues that because a refund request for an overpayment of the telecommunications gross receipts tax found in SDCL ch. 10-33A is not a “rate-making” or “licensing” proceeding, it is excluded from the administrative appeals process.
[¶ 17.] The definition of a “contested case” in SDCL 1-26-1(2) does not limit administrative appeals only to “rate making” and “licensing” proceedings. The language of the statute provides rate making and licensing are included within the definition, but is not limited to those two types of proceedings. By way of example, the South Dakota Code contains several statutes that include matters other than rate making and licensing in the administrative appeals process by specific reference to SDCL ch. 1-26. See SDCL 12-27-29.2 (permitting administrative appeals of penalties assessed for campaign finance violations by reference to SDCL ch. 1-26); SDCL 38-18-3 (permitting an administrative appeals of denial of a registration application for apiaries by reference to SDCL ch. 1-26). SDCL 12-27-29.2 provides in relevant part:
Any administrative penalty imposed pursuant to § 12-27-29.1 shall be assessed against the violator by an administrative order of the secretary of state. The order shall state the date and facts of each violation addressed under the penalty assessed and the citations to the provisions of each law alleged to be vio*136lated. The order shall contain a statement that the violator may request a contested case hearing on the violation and penalty pursuant to chapter 1-26, by filing a written request with the secretary of state no later than twenty days after the receipt of the order.
Without calling an administrative penalty under SDCL ch. 12-27 a “contested case,” SDCL 12-27-29.2 makes it clear that the administrative appeals process in SDCL ch. 1-26 is available for contesting a penalty imposed for violation of campaign finance laws. Similarly, SDCL 38-18-3, without specific reference to a denial of a registration application for apiaries as a “contested case,” permits an administrative appeal for such a denial. SDCL 38-18-3 provides in relevant part: “A registration application shall be approved or rejected by the secretary in compliance with this chapter or rules promulgated pursuant to chapter 1-26. The secretary may deny applications, revoke permits, or conduct contested case hearings in accordance with rules promulgated pursuant to chapter 1-26.”
[¶ 18.] We see nothing in SDCL 10-59-1 that precludes the defining of a particular type of fee, tax, licensure, or registration requirement as a contested case in a specific statute while not including another in that same statute. Our statutory rules of construction support this view in that the rule that “the express mention of one thing in a statute implies the exclusion of another ‘is merely an auxiliary rule of statutory construction, to be applied with great caution[.]’ ” Argo Oil Corp., 76 S.D. at 74, 72 N.W.2d at 434. Therefore, the lack of reference to chapter 10-33A in SDCL 10-59-1 does not preclude an administrative appeal of TracFone’s refund request as argued by the Department.
[¶ 19.] TracFone argues that while SDCL ch. 10-33A is not specifically listed in SDCL 10-59-1 as one of the types of tax matters that may be heard as an administrative appeal by the OHE, the language in SDCL 10-33A-12 expressly authorizes it. SDCL 10-33A-12 provides: “Any appeal from a decision of the secretary in a contested case shall be taken in accordance with chapter 1-26.” In the instant case, TracFone sought a hearing in front of the OHE of the Department’s denial of TracFone’s tax refund application. The OHE’s decision as to no jurisdiction was then reviewed by the Secretary and adopted in full. Therefore, the provisions of SDCL 10-33A-12 were triggered and the administrative appeals process should have been permitted.7
[¶ 20.] The Department argues that permitting this refund request for funds collected, distributed to counties, and likely spent in 2004 through 2007 would have a crippling effect on the public finances. The Legislature has recognized the potentially crippling effect untimely taxpayer refund requests could have on taxing districts. Miner v. Clifton, 30 S.D. 127, 137 N.W. 585, 586 (1912). As a result, the *137Legislature has in the past crafted narrow exceptions that permit a tax payer to obtain a refund in a manner that does not endanger the fiscal integrity of taxing districts. Security Nat’l Bank v. Twinde, 52 S.D. 352, 217 N.W. 542, 543 (1928) (citing Rev. Code 1919, § 6813, which enumerated six narrow exceptions for which a tax refund may be obtained versus the payment-under-protest method in which a suit must be filed); McArdle v. Robertson, 70 S.D. 545, 547, 19 N.W.2d 576, 576 (1945) (citing SDC 57.0901 (1939) permitting refund of voluntarily paid taxes when paid under protest and civil suit commenced within thirty days is utilized). No such narrow exception was included in SDCL ch. 10-33A by the Legislature. This Court cannot on appeal narrow the manner in which telecommunications gross receipts tax refunds may be appealed in contravention of clear statutory language, even if a danger to public finance exists as a result. That is for the Legislature to do in the future if it sees the need.
[¶21.] Moreover, the Department’s concern is premature. By recognizing TracFone’s statutory right to appeal, not one cent is removed from the public treasury and refunded to TracFone. The merits of TracFone’s refund claim still remain to be decided. That is beyond the scope of this appeal.
[¶ 22.] TracFone properly appealed the Department’s denial of TracFone’s request as an administrative appeal. The OHE reviewed the matter and eventually determined it did not have jurisdiction, as did the Secretary. However, the matter was subject to the administrative appeals process per the provisions of SDCL 10-33A-12.8 Reversed and remanded for proceedings consistent with this opinion.
[¶ 23.] MEIERHENRY and SEVERSON, Justices, concur.
[¶ 24.] KONENKAMP and ZINTER, Justices, dissent.

. SDCL 10-33A-4 provides:
There is hereby imposed a tax of four percent upon the gross receipts of telecommunications services, as defined in § 10-33A-2, that originate and terminate in the same state and are billed to a customer with a place of primary use in this state or are deemed to have originated or been received in this state and to be billed or charged to a service address in this state if the customer’s place of primary use is located in this state regardless of where the service actually originates or terminates. Notwithstanding any other provision of this chapter and for purposes of the tax imposed by this section, the tax imposed upon mobile telecommunication services shall be administered in accordance with 4 U.S.C. §§ 116-126 as of July 28, 2000.


. SDCL 10-3 3A-3 provides in relevant part: The term, gross receipts, as used in this chapter, includes only revenue of a telecommunications company from the sale at retail of intrastate and. interstate telecommunications services. Sale at retail does not include special access or toll-free incoming calls or the sale of any telecommunications service by a telecommunications company to another telecommunications company if the service is resold or becomes a component part of the sale by the second telecommunications company.


.SDCL 10-59-19 provides:
A taxpayer seeking recovery of an allegedly overpaid tax, penalty, or interest shall file a claim for recovery with the secretary, within three years from the date the tax, penalty, or interest was paid or within three years from the date the return was due, whichever date is earlier. A claim for recovery not filed within three years of the date the tax was paid or within three years of the date the return was due, whichever date is earlier, is barred.


. SDCL 10-27-2 provides in relevant part:
Any person against whom any tax is levied or who may be required to pay the tax, who pays the tax prior to the tax becoming delinquent and under protest to the treasurer authorized to collect the tax, giving notice at the time of payment of the reasons for such protest may, at any time within thirty days thereafter, commence an action against such treasurer for the recovery of the tax in any court of competent jurisdiction.


. TracFone also offers numerous arguments in the alternative that were not reached in determining our decision on appeal. We conclude the analysis herein is dispositive.


. The dissent concludes the term "administrative appeals” to be "imprecise.” See infra ¶ 25. Yet, the term has been used with consistency by this Court in addressing appeals pertaining to SDCL ch. 1-26. See, e.g., Yarcheski v. Reiner, 2003 SD 108, ¶ 17, 669 N.W.2d 487, 493; Wendell v. SD Dept. of Transp., 1998 SD 130, ¶ 5, 587 N.W.2d 595, 597; Jansen v. Lemmon Fed. Credit Union, 1997 SD 44, ¶ 6, 562 N.W.2d 122, 124; Oberle v. City of Aberdeen, 470 N.W.2d 238, 241 (S.D.1991); Matter of Determination of Ordinary High Water Mark and Outlet Elevation for Beaver Lake, 466 N.W.2d 163, 166 (S.D.1991); Beville v. Univ. of SD Bd. of Regents, 420 N.W.2d 9 (S.D.1988); Moulton v. State, 412 N.W.2d 487, 494 (S.D. 1987); Carrv. SD Dept. of Labor, 355 N.W.2d 10, 13 (SD 1984); Walker v. State Dept. of Trans., 259 N.W.2d 303, 304 (S.D. 1977). The dissent concludes that the use of the term "fails to give effect to the important APA distinction between statutes authorizing the ‘contested case proceeding' (also referred to as a ‘contested case hearing') and the statutes governing the procedure for taking appeals!.]” Yet despite the "importance” of this distinction, the dissent fails to explain why the term "administrative appeals” is so commonly used in prior APA cases and not one case prior to today can be drawn as support for the distinction the dissent now purports to make.


. The dissent states that "[t]he inescapable conclusion is that whether intentional or inadvertent, SDCL ch. 10-59 and SDCL 10-33A-12 do not authorize an APA contested case proceeding to administratively challenge the Department's denial of a telecommunications tax refund claim.” See infra ¶ 32. This is illogical given our rule of construction that "there is a presumption against construction of a statute which would render it ineffective or meaningless.” See Appeal of Real Estate Tax Exemption for Black Hills Legal Services, Inc., 1997 SD 64, ¶ 12, 563 N.W.2d 429, 432. The dissent would for purposes of this appeal conclude that the Legislature enacted SDCL 10-33A-12, yet left TracFone’s claim of a hearing and right to appeal as a nullity. As set forth in this opinion, correct statutory analysis shows that the Legislature, far from enacting nullities, granted the right to appeal per SDCL 10-33A-12 from a final adverse decision of the Secretary.


. The dissent ominously acknowledges that should its analysis prevail, that no right to a hearing and subsequent appeal exists, SDCL 10-33A-4 may well be unconstitutional. See generally McKesson Corp. v. Div. of Alcoholic Beverages and Tobacco, 496 U.S. 18, 39, 110 S.Ct. 2238, 2251, 110 L.Ed.2d 17 (1990). The dissent concludes that ''[i]f the Legislature has not authorized telecommunications taxpayers a remedy to contest this tax, TracFone’s constitutional warning may be correct.” This once again calls into question the analysis of the dissent. ”[A]ny legislative act is accorded a presumption in favor of constitutionality and that presumption is not overcome until the act is clearly and unmistakably shown beyond a reasonable doubt to violate fundamental constitutional principles.” Cheyenne River Sioux Tribe Telephone Authority v. Public Utilities Comm’n of SD, 1999 SD 60, ¶ 44, 595 N.W.2d 604, 613 (citing Americana Healthcare Ctr. v. Randall, 513 N.W.2d 566, 572 (S.D. 1994)). This presumption of validity also carries with it the fact that " 'legislation ... will be sustained if the classification drawn by the statute is rationally related to a legitimate state interest.’ ” Id. (quoting City of Cleburne, TX v. Cleburne Living Ctr., 473 U.S. 432, 440, 105 S.Ct. 3249, 3254, 87 L.Ed.2d 313, 320 (1985)). Both taxation and the right to contest the same are obviously very fundamental state interests.

